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                                                     :   UNITED STATES BANKRUPTCY COURT
      In re:                                         :   FOR THE DISTRICT OF NEW JERSEY
      SHAPES/ARCH HOLDINGS L.L.C., et                :   CHAPTER 11
      al.,                                           :
                   Debtors.                          :   CASE NO. 08-14631 (GMB)
                                                     :
                                                     :

              DEBTORS’ OBJECTION SEEKING ORDER TO RECLASSIFY
          ADMINISTRATIVE CLAIM OF EULER HERMES ACI, AS ASSIGNEE OF
             RUSAL AMERICA CORP. TO GENERAL UNSECURED CLAIMS
             Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively, the

      “Debtors”),1 the debtors and debtors-in-possession, hereby submit this objection (the

      “Objection”), pursuant to 11 U.S.C. §§ 105 and 503 of the Bankruptcy Code, seeking an

      Order reclassifying the administrative expense claim of Euler Hermes ACI, as the

      assignee of Rusal America Corp. (“Rusal”), in the amount of $959,059.54 to general

      unsecured status. In support of the Objection, the Debtors respectfully represent as

      follows:




      1
        In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
      which are wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date
      (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C. (“Accu-
      Weld”); and Ultra L.L.C. (“Ultra”).
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                                            BACKGROUND

                                                 General

              1.        On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

      petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

      Code”). The Debtors are authorized to continue to operate and manage their properties

      as debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

              2.        These cases are being jointly administered pursuant to this Court’s Order

      of March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

              3.        No trustee or examiner has been appointed in these cases.

              4.        An official committee of unsecured creditors (the “Committee”) was

      appointed on March 31, 2008, and has been active in these cases since that time.

              5.        The Court has jurisdiction over this Objection pursuant to 28 U.S.C. §

      1334.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.               This is a core

      proceeding pursuant to 28 U.S.C. § 157(b)(2).


                                     Schedules And Proofs Of Claim

              6.        On the Petition Date the Debtors filed their Statements of Financial

      Affairs, Schedules of Assets and Liabilities and Schedule of Executory Contracts and

      Unexpired Leases (the “Bankruptcy Materials”).

              7.        Pursuant to this Court’s order, dated March 18, 2008, the Debtors retained

      Epiq Bankruptcy Solutions, L.L.C. (the “Claims Agent”) as their official claims and

      noticing agent.
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             8.      On March 18, 2008, this Court entered an order pursuant to Bankruptcy

      Rules 2002(a)(7) and 3003(c)(3) establishing the deadline for proofs of claim and

      approving the form and manner of notice thereof [Dkt. No. 35] (the “Bar Date Order”).

             9.      Pursuant to the Bar Date Order, the deadline for all persons and entities to

      file proofs of claim against the Debtors for claims that arose on or prior to the Petition

      Date was May 15, 2008.

             10.     On May 19, 2008, the Debtors filed a motion to set a bar date for filing

      administrative expense claims (the “Administrative Claim Bar Date Motion”) that arose

      on or prior to June 15, 2008 including, without limitation, claims allegedly entitled to

      administrative expense treatment under Section 503(b)(9) of the Bankruptcy Code.

             11.     On May 28, 2008, the court entered an Order granting the Administrative

      Claim Bar Date Motion and fixed June 30, 2008 as the deadline to file administrative

      expense claims.

                   Approval of the Disclosure Statement and Bidding Procedures

             12.     On May 12 and 13, 2008, respectively, the Debtors filed their Second

      Amended Joint Plan (the “Second Amended Plan”) and disclosure statement. Although

      the Debtors, Arch and the Committee had not agreed on all of the terms of the Second

      Amended Plan, it was filed in order to avoid a default under the terms of the Arch

      Amended DIP Agreement.         The Second Amended Plan provided for a competitive

      process by which third parties would have an opportunity to conduct due diligence and

      participate in an auction to purchase the equity interests in Shapes/Arch (and thus obtain

      ownership of the equity interests in all of the Debtors) prior to the confirmation hearing.
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             13.     On May 12, 2008, the Debtors filed a motion for approval of bid

      procedures (the “Bid Procedures Motion”) to:          (a) control the method by which

      potentially interested bidders would be able to obtain due diligence, (b) provide the

      procedures for parties submitting competing bids to follow, and (c) schedule and provide

      procedures for an auction, if qualified bids are submitted.

             14.     On May 20, 2008, the Court granted the Bid Procedures Motion, which

      required all competing bids to be submitted no later than June 25, 2008, and scheduled an

      auction for June 27, 2008, if qualified bids are submitted.

             15.     On May 23, 2008, the Court approved the disclosure statement (the

      “Disclosure Statement”) in support of the Debtors’ Third Amended Joint Plan (the “Third

      Amended Plan”). The Third Amended Plan was filed after the Debtors, Arch and the

      Committee had resolved the issues that had been outstanding at the time the Second

      Amended Plan was filed. A hearing to consider confirmation of the Third Amended Plan

      is scheduled for July 22, 2008.


                                   Administrative Claim of Rusal
             16.     On or about June 17, 2008, Rusal filed proof of claim #773 against Shapes

      seeking an administrative claim in the amount of $959,059.54 for goods received by

      Shapes within twenty (20) days prior to the Petition Date for which Shapes allegedly has

      not made payment, pursuant to Section 503(b)(9) of the Bankruptcy Code (“Rusal’s

      Alleged Administrative Claim”). The same proof of claim asserts unsecured non-priority

      claims in the amount of $4,326,311.50. This Objection does not pertain to the amount or

      allowability of the unsecured non-priority portion of Rusal’s claim.
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                                          RELIEF REQUESTED
             17.     By this Objection, the Debtors seek an order of this Court, pursuant to 11

      U.S.C. §§ 105 and 503 reclassifying Rusal’s Alleged Administrative Claim, as identified

      on Exhibit “A”, as a general unsecured claim, because the portion of Rusal’s claim that

      may be entitled to administrative priority under Section 503(b)(9) of the Bankruptcy

      Code was, in fact, paid by Shapes prior to the Petition Date.


                                   BASIS FOR RELIEF REQUESTED
             18.     The Debtors and their advisors have reviewed Rusal’s Alleged

      Administrative Claim.     Based upon such review, the Debtors have determined that

      payment was made in full to Rusal for all shipments received within the twenty (20) days

      immediately prior to the Petition Date.

                                            Applicable Authority

             19.     Section 503(b)(9) of the Bankruptcy Code provides in pertinent part:

                     Allowance of administrative expenses.

                     (b) After notice and a hearing, there shall be allowed
                     administrative expenses, other than claims allowed under
                     section 502(f) of this title, including –

                     (9) the value of any goods received by the debtor within 20
                     days before the date of commencement of a case under this title
                     in which the goods have been sold to the debtor in the ordinary
                     course of such debtor’s business.
      11 U.S.C. § 503(b)(9).
             20.     As further set forth on Exhibit “A”, Rusal’s Alleged Administrative Claim

      indicates that the following invoices and corresponding amounts for goods received by

      Shapes within twenty (20) days of the Petition Date are due and owing from Shapes: (i)
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      invoice #13152 in the amount of $180,021.79; (ii) invoice #13158 in the amount of

      $239,175.50; (iii) invoice #13162 in the amount of $60,343.51; (iv) invoice #13170 in the

      amount of $119,962.80; (v) invoice #13171 in the amount of $180,280.44; and, (vi)

      invoice #13175 in the amount of $179,245.84.

             21.     However, Shapes’ books and records reflect that prior to the Petition Date

      the following wire transfers were completed from the Shapes’ JP Morgan Chase bank

      account to Rusal’s Wachovia bank account: (i) February 26, 2008 in the amount of

      $175,127.58; (ii) February 27, 2008 in the amount of $176,062.20; (iii) February 28,

      2008 in the amount of $234,412.80; (iv) February 29, 2008 in the amount of

      $294,051.66; and, (v) March 3, 2008 in the amount of $79,375.65 (collectively, the

      “503(b)(9) Payments”). These wire transfers total $959,029.89 – the exact amount of

      Rusal’s Alleged Administrative Claim -- and are attached as Exhibit “B” to this

      Objection.

             22.     As a general proposition, a creditor who is owed more than one debt by a

      debtor may apply the payments to the debtor's account in any manner it chooses so long

      as the debtor has not issued specific directions to the contrary. Craft v. Stevenson

      Lumber Yard, Inc., 179 N.J. 56, 72, 843 A.2d 1076, 1085 (2004) (citing United Orient

      Bank v. Lee, 208 N.J. Super. 69, 72 n.1, 504 A.2d 1215, 1217 (App. Div. 1986)). See

      also First National Bank v. United States, 591 F.2d 1143 (5th Cir. 1979) (if an individual

      who owes two debts to the same creditor makes a payment to that creditor, he has a right

      to designate the debt to which the payment shall be applied if he manifests his desire

      before or at the time of payment.)
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             23.     Restatement (Second) of Contracts (1981) § 258 provides for the

      “Payment Application Rule” as follows:

                   (1) except as stated in Subsection (2), as between two or more
                   contractual duties owed by an obligor to the same obligee, a
                   performance is applied according to a direction made by the
                   obligor to the obligee at or before the time of performance.

                   (2) If the obligor is under a duty to a third person to devote a
                   performance to the discharge of a particular duty that the obligor
                   owes to the obligee and the obligee knows or has reason to know
                   this, the obligor's performance is applied to that duty.

      Restatement 2d of Contracts, § 258.

             24.     The Restatement (Second) of Contracts (1981) §259 allows a creditor to

      apply payments from a debtor as follows:

                   (1) Except as stated in Subsection (2) and (3), if the debtor has not
                   directed application of a payment as between two or more matured
                   debts, the payment is applied according to a manifestation of
                   intention made within a reasonable time by the creditor to the
                   debtor.

                   (2) A creditor cannot apply such a payment to a debt if

                     (a) the debtor could not have directed its application to that debt,
                     or,

                     (b) a forfeiture would result from a failure to apply it to another
                     debt and the creditor knows or has reason to know this, or (c) the
                     debt is disputed or is unenforceable on grounds of public policy.
      Restatement 2d of Contracts, § 259. The New Jersey Supreme Court quoted and relied

      upon these sections of the Restatement in Craft.

             25.     In this instance, the invoices for which the 503(b)(9) Payments were made

      were specifically identified by Shapes in the “Remark” section of the JP Morgan wires.

      Shapes clearly states which delivery and/or invoice it intended to pay with each of the
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      503(b)(9) Payments. Therefore, the wire transfers made by Shapes paid or otherwise

      satisfied in full the invoices claimed in Rusal’s Alleged Administrative Claim.

      Apparently, despite clear direction by Shapes, Rusal misapplied the 503(b)(9) Payments

      to older invoices.

             26.     Had Rusal applied the 503(b)(9) Payments as directed by Shapes, then

      Rusal’s Alleged Administrative Claim would have been filed (and allowed) as a general

      unsecured claim. For the foregoing reasons, the Debtors request that the Court enter an

      order reclassifying Rusal’s Administrative Claim as a general unsecured claim.

                                           RESERVATION
             27.     The Debtors hereby reserve the right to object to Rusal’s unsecured non-

      priority claim on any grounds at a later date.      Separate notice and hearing will be

      scheduled for any such objections.

                                              NOTICE

             28.     Notice of this Motion has been provided to: (a) counsel for CIT, (b)

      counsel for Arch, (c) the Office of the United States Trustee, (d) Rusal, at the address

      specified on the Proof of Claim, and (e) all parties on the Master Service List. In light of

      the nature of the relief requested herein, the Debtors submit that no further notice is

      necessary.
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             WHEREFORE, the Debtors respectfully request that the Court approve an order

      granting the relief requested and grant such other and further relief as is just and proper.


      Dated: July 21, 2008                           COZEN O’CONNOR

                                                     By:       /s/ Jerrold N. Poslusny, Jr.
                                                           Mark E. Felger
                                                           Jerrold N. Poslusny, Jr.

                                                           Attorneys for the Debtors
